Barbara Tangwall
11925 Flyway Court
PO Box 140118
Salcha, AK 99714
907-888-7087 (Barb)

OCT 34 2019

UNITED STATE DISTRICT COURT = Cleyk tye 5...
DISTRICT OF ALASKA Fairbanks, ajo
Barbara Tangwall,
Plaintiff,
V. Case No: 4:19-cv-00011-MMS

George E. Buscher, Individually, jointly

And severally; Lois L. Buscher, individually

Jointly and severally; Zimmerman and Wallace

Individually, jointly and severally; Christopher E. Zimmerman,
Individually, jointly and severally; 49" Cartridge

Company, LLC, individually, jointly and severally;

David R. Dwyer, Jr. individually, jointly and severally;

Russell Z. Smith, individually, jointly and severally;

and unknown others, individually, jointly and severally,

Defendants.
SECOND AMENDED COMPLAINT
NOW COMES Barbara Tangwall and shows her Second Amended Complaint as
follows:
iUREDIETION

1. Deprivation of property rights under color of law pursuant to 42 USC 1983.
The law of this case is laid out in attached Exhibit L.

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I
VENUE

Venue is proper with this court in that all transactions occurred in Salcha,
Alaska.

HII
CONTROVERSY

Amount in controversy exceeds $250,000.00.

IV
PARTIES

Plaintiff Barbara Tangwall (hereinafter Barbara) is a United States citizen
whose residence is at 11925 Flyway Court, Fairbanks, Alaska 99701. See
attached Exhibit A.

Defendant George E. Buscher (hereinafter George) is an individual whose
mailing address is PO Box 83696, Fairbanks, Alaska 99708.

Defendant Lois L. Buscher (hereinafter Lois) is an individual whose mailing
Address is PO Box 83696, Fairbanks, Alaska 99708.

Defendant Zimmerman and Wallace (hereinafter Wallace), attorneys for
George and Lois, is an Alaskan professional corporation whose mailing
address is 711 Gaffney Road, Suite 202, Fairbanks, Alaska 99701.

Defendant Christopher Zimmerman (hereinafter Zimmerman), personal
attorney for George and Lois, is an Alaskan attorney-at-law whose mailing
address is 711 Gaffney Road, Suite 202, Fairbanks, Alaska 99701.

Defendant 49" Cartridge Company, LLC (hereinafter Cartridge) is an

Alaskan corporation whose address is 705 Birch Knoll Road, Fairbanks,
Alaska 99712.

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Defendant David Dwyer (hereinafter Dwyer) is an individual whose address
is 705 Birch Knoll Road, Fairbanks, Alaska 99712.

Defendant Russell Smith (hereinafter Smith) is an individual whose address
is 1930 Lynx Lane, Fairbanks, Alaska 99709.

V
BACKGROUND

Since 2011 Barbara’s residence, uninterrupted, has been Flyway Court,
Fairbanks, Alaska 99701.

On 4/2/2019, the Defendants unknown to Plaintiff recorded a disputed
non-judicial foreclosure Trustee’s deed.

On 4/3/2019, at approximately 5:00 p.m., Barbara’s husband Donald
arrived home at the Flyway Court property to find the locked barrier to the
private road removed. Donald continued up the private road and arrived at
the driveway to find a locked chain barrier across the driveway; Donald
parked and walked the remaining 1/8 mile to the residence where Donald
encountered a pickup truck. Upon entering the residence Donald found two
men removing personal property. See attached Exhibit B. Donald
confronted the men and told them to leave the property. They responded
that they had purchased the real property and its personal contents from
George and Lois; they stated the Buschers said their attorney gave them
permission to sell the property, after which Donald asked them for papers
that would give them authority to takeover this property. They produced a
no trespassing sign they posted on the property which listed Buschers’
attorney’s phone number. See attached Exhibit C. No papers were
produced and the State Troopers were called. Sgt. Mobley said he couldn’t
determine who was the rightful owner and that all should secure the
property and leave.

On May 31, 2019, the Plaintiff became aware that the Defendants had
initiated a Forcible Entry and Detainer action in the state court, Case No:
4FA-19-01974 Cl.

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Barbara and Barry Donnellan immediately filed a notice of removal to the
United States District Court, Case No: 0-AKK-4-19-cv-000018-001.
See attached Exhibit G.

On June 3, 2019, Barbara and Barry Donnellan noticed the state court in
Case No: 4FA-19-01974 Cl that the case was removed to federal court. See
attached Exhibit H.

The blue pages of the state court, file number 4FA-19-01974 Cl attached as
Exhibit |, memorialize the state court proceedings of June 3, 2019, showing
at 3:17:39 p.m. the court was fully aware of attached Exhibit H showing the
case was removed to federal court.

On June 3, 2019, Zimmerman produced an affidavit to the state court. See
attached Exhibit K. Zimmerman failed to disclose to the state court a case
between the parties was pending in federal court in this instant case.

At 3:18:52 p.m. Zimmerman recited to the court the proceedings to date
involving the Plaintiff and the Defendants. Zimmerman willfully,
maliciously, and fraudulently did not disclose to the state court this instant
case which was filed on 4/15/2019, also failing to disclose to Judge
Hammers that there was a suit filed against them for unlawful seizure of
the property.

At 3:26:36 p.m. Judge Hammers entered an order for alternative service
without knowledge of the lawsuit pending in the federal court for unlawful
seizure of the property.

At 3:36:11 p.m. the Hammers’ court stated, “Once we get an order from
the Federal Court we can go that way. Until we get that order this court
retains jurisdiction.”

Upon information and belief, the Defendants, after June 3, 2019, posted to
the Plaintiff’s residence a summons and complaint from the state court
case.

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COUNT |

DEPRIVATION OF CIVIL RIGHTS TO PEACEFUL ENJOYMENT OF RESIDENCE UNDER

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ALASKAN ATTORNEYS WALLACE AND ZIMMERMAN OPERATING UNDER THE
COLOR OF ALASKA STATE LAW

All previous paragraphs are incorporated by reference herein.

George and Lois obtained a trustee’s deed after a disputed non-judicial
foreclosure held at 10:00 a.m. on 4/2/2019, at the Fairbanks’ court
building. George and Lois were represented by Wallace and Zimmerman in
the foreclosure procedure. The judicial foreclosure is under review in the
U.S. District Court, District of Alaska, case number 4:19-cv-00009. | have not

voluntarily abandoned the residence and | have not received an eviction
notice.

At all times the Defendants were represented by Wallace and Zimmerman,
Alaska attorneys operating under the color of state law.

RELIEF
Judgment against all the Defendants, individually, jointly and severally, in
the amount exceeding $250,000.00, amount certain to be determined after
inspection of the residence and personal property.
Cost.

Interest.

Any other relief this Court deems just.

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COUNT Il

ALASKAN ATTORNEYS WALLACE & ZIMMERMAN AUTHORIZED THE UNLAWFUL

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SEIZURE OF PROPERTY UNDER COLOR OF ALASKA LAW
All previous paragraphs are incorporated by reference herein.
Wallace authorized the unlawful seizure of the property which is evidenced
by attached Exhibit C. Wherein the Defendants, unknown to Plaintiff, at

the time of this unlawful seizure posted no trespassing signs on the
property which displayed Zimmerman and Wallace’s office phone number.

RELIEF

Judgment against all the Defendants, individually, jointly and severally, in
the amount exceeding $250,000.00.

Cost.
Interest.
Any other relief this Court deems just.
COUNT II

ZIMMERMAN OBSTRUCTED JUSTICE
All previous paragraphs are incorporated by reference herein.
Zimmerman is an officer of the court and is held to the highest standards of
integrity. Zimmerman filed an affidavit to the court wherein he failed to

disclose to the court that the issues were currently being litigated in this
instant case. See attached Exhibit K.

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RELIEF

39. Judgment against all the Defendants, individually, jointly and severally, in
the amount exceeding $250,000.00.

40. Judgment against all the Defendants, individually, jointly and severally, in
the amount of $500,000.00 for punitive damages.

41. Cost.
42. Interest.

ny otherrelief this court deems just.

 
 
   

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Barbara Tangwall

CERTIFICATE OF SERVICE

| hereby certify that a copy of the foregoing was served on the Defendants listed
below by first class mail postage pre-paid on 30th of October, 2019.

George E. Buscher
PO Box 83696
Fairbanks, AK 99708

Lois L. Buscher
PO Box 83696

 

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